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UNITED STATES COURT OF INTERNATIONAL TRADE                                                         FORM 1

 3BTECH, INC.,
                                     Plaintiff,
             v.                                                              SUMMONS

 UNITED STATES,                                                         COURT NO. 21-00026
                                     Defendant.


TO:     The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).

                                                          /s/ Mario Toscano
                                                          Clerk of the Court


                                                  PROTEST
                                                         Date Protest
 Port of Entry:   Chicago (3901)                                          01/28/2020
                                                         Filed:
 Protest                                                 Date Protest
                  3901-20-106024                                          03/09/2020
 Number:                                                 Denied:

 Importer:        3BTech, Inc.

 Category of
                  Wheeled toys
 Merchandise:


                             ENTRIES INVOLVED IN ABOVE PROTEST
                                            Date of                                               Date of
   Entry Number        Date of Entry                     Entry Number        Date of Entry
                                          Liquidation                                           Liquidation
  BVQ-0197180-2         06/12/2019        08/09/2019
  BVQ-0197401-2         06/18/2019        08/09/2019




 Port Director of Customs,                              Lawrence R. Pilon
 U.S. Customs and Border Protection                     Rock Trade Law LLC
 5600 Pearl Street                                      134 North LaSalle Street, Suite 1800
 Rosemont, IL 60018                                     Chicago, IL 60602
                                                        Telephone:     (312) 553-1946
                                                        Email: lpilon@rocktradelaw.com

Address of Customs Port in                                Name, Address, Telephone Number
Which Protest was Denied                                  and E-Mail Address of Plaintiff’s Attorney
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                         CONTESTED ADMINISTRATIVE DECISION
                                   Appraised Value of Merchandise

                                       Statutory Basis                               Statement of Value


  Appraised:



  Protest Claim:




                                     Classification, Rate or Amount

                                          Assessed                                      Protest Claim

                                   Paragraph                                       Paragraph
       Merchandise              or Item Number                Rate              or Item Number               Rate

  Wheeled toys, self-     Uncertain, but believed to        0.0%          9503.00.00,                      0.0%
  balancing electric      have been either 8711.60.00      (Free), +      or alternatively 8711.60.00      (Free)
  scooters                or 8711.90.01 with China         25.0%          excluded from China
                          Section 301 tariffs assessed                    Section 301 tariffs
                          per 9903.88.02                                  per 9903.88.17


                                                   Other
  State specifically the Decision [as described in 19 U.S.C. § 1514(a)] and the Protest Claim:




  The issue which was common to all such denied protests:
  The improper classification and rate of duty applied at liquidation, including assessment of “China
  Section 301” tariffs imposed pursuant to Section 301 of the Trade Act of 1974.


Every denied protest included in this civil action was filed by the same above-named importer, or by
an authorized person in his behalf. The category of merchandise specified above was involved in
each entry of merchandise included in every such denied protest. The issue or issues stated above
were common to all such denied protests. All such protests were filed and denied as prescribed by
law. All liquidated duties, charges or exactions have been paid, and were paid at the port of entry
unless otherwise shown.



                                                                       Signature of Plaintiff’s Attorney

                                                         Lawrence R. Pilon                      January 26, 2021
                                                                       Name                       Date
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                                    SCHEDULE OF PROTESTS

Chicago, IL (3901)
Port of Entry


       Protest       Date Protest      Date Protest        Entry           Date of         Date of
       Number           Filed            Denied           Number           Entry         Liquidation



   3901-20-106997    02/18/2020        02/26/2020     BVQ-0185673-0      09/05/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0185799-3      09/12/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0185983-3      09/19/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0186522-8      09/28/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0186689-5      10/10/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0187104-4      10/21/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0187117-6      10/29/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0187416-2      10/21/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0187611-8      10/19/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0187693-6      10/29/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0187702-5      11/02/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0188188-6      11/10/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0188276-9      11/08/2018      08/30/2019
   3901-20-106997    02/18/2020        02/26/2020     BVQ-0188286-8      11/13/2018      08/30/2019




 Port Director of Customs,                             If the port of entry shown above is different
 U.S. Customs and Border Protection                    from the port of entry shown on the first page
 5600 Pearl Street                                     of the summons, the address of the District
 Rosemont, IL 60018                                    Director for such port of entry must be given
                                                       in the space provided.
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                                    SCHEDULE OF PROTESTS

Chicago, IL (3901)
Port of Entry


       Protest       Date Protest      Date Protest        Entry           Date of         Date of
       Number           Filed            Denied           Number           Entry         Liquidation



   3901-20-107048    02/20/2020        02/26/2020     BVQ-0188666-1      11/28/2018      08/30/2019
   3901-20-107048    02/20/2020        02/26/2020     BVQ-0188761-0      11/21/2018      08/30/2019
   3901-20-107048    02/20/2020        02/26/2020     BVQ-0188764-4      11/20/2018      08/30/2019
   3901-20-107048    02/20/2020        02/26/2020     BVQ-0191380-4      01/22/2019      08/30/2019
   3901-20-107048    02/20/2020        02/26/2020     BVQ-0191703-7      01/24/2019      08/30/2019
   3901-20-107048    02/20/2020        02/26/2020     BVQ-0191716-9      02/15/2019      08/30/2019
   3901-20-107048    02/20/2020        02/26/2020     BVQ-0191884-5      02/15/2019      08/30/2019
   3901-20-107048    02/20/2020        02/26/2020     BVQ-0193340-6      03/18/2019      08/30/2019
   3901-20-107048    02/20/2020        02/26/2020     BVQ-0193627-6      03/22/2019      08/30/2019
   3901-20-107048    02/20/2020        02/26/2020     BVQ-0193739-9      03/28/2019      08/30/2019
   3901-20-107048    02/20/2020        02/26/2020     BVQ-0194162-3      04/15/2019      08/30/2019
   3901-20-107048    02/20/2020        02/26/2020     BVQ-0194477-5      04/17/2019      08/30/2019




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